Case 2:98-cV-08493-SVW-I\/|LG Document 191 Filed 01/08/08 Page 1 of 1 Page |D #:237

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - TRIAL

CaSCNO. CV 1998-08493-SVW(MLGX) Daf€ 1/8/08

Title¢ Mohammad Salameh vs. Peter Carlson, et al.

 

 

Present: The Honorable Stephen V_ Wilson

 

 

 

 

 

 

 

 

 

 

 

 

Paul Cruz/Sharon Hall-Brown Deborah Gackle
Deputy Clerk Court Reporter/Recorder, Tape No.
Attorneys Present for Plaintiffgs): Attorneys Present for Defendants:
lSt Day Court Trial Day Jury Trial

x One day trial: Begun (lSt day); Held & Continued; X Completed by jury verdict/submitted to court.

___"l`h_e Jury is impaneled-and sworn. __ _
/ Opening Sta‘fem€nts made by Plaintiff and defense counsel

: Witnesses called, sworn and testified. __L Exhibits Identifled _,_/_ Exhibits admitted.
_{_ Plaintiff(s) rest. _L Defendant(s) rest.

Closing arguments made by plaintiff(s) defendant(s). Court instructs jury.
_ Bailiff(s) sworn. __ Jury retires to deliben;. _ Jury resumes deliberations
___ Jury Verdict in favor of __ plaintiff(s) defendant(s) is read;l_d_filed.
_ Jury polled. _ Polling waived. _
__ Filed Witness & Exhibit Lists __ Filed jury notes. Filed jury instructions.
_ Judgment by Court for _ _ plaintiff(s) defendant(s).
7 Findings, Conclusions of Law & Judgment to be prepared by _ plaintiff(s) ;/: defendant(s).
_ Case submitted. Briefs to be filed by _
__ Motion to dismiss by _ is granted. denied. ___ submitted.
: Motion for mistrial by is : granted. : denied. ___ submitted

Motion for Judgment/Directed Verdict by is granted. denied. _ submitted.
: Settlement reached and placed on the record. __ _

/ Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings
7 Counsel stipulate to the return of exhibits upon the conclusion of m`al. Exhibit Release Forrn prepared and filed.
__ Trial subpoenaed documents returned to subpoenaing party.
: Case continued to for further trial/further jury deliberation
_{__ Other: Judgment is for defendants Court finds that plaintiff did not meet burden of proof.
07 : 10
Initials of Deputy Clerk pc/sahb

cc:

 

CV-96 (06/06) CIVIL MINUTES - TRIAL Page l of l

 

